4:20-bk-11446 Doc#: 16-1 Filed: 04/09/20 Entered: 04/09/20 16:42:09 Page 1 of 1




                         CERTIFICATE OF SERVICE



      The undersigned hereby certifies that, on April 09, 2020, a true and
correct copy of the foregoing has been served on the Chapter 13 Standing
Trustee servicing this case and Charles W. Tucker, Assistant United States
Trustee by CM/ECF; and served on all creditor whose names and addresses
are set forth on the matrices filed in this case by U.S. Mail, postage prepaid.



                                       By: /s/ Matthew D. Mentgen
                                       Matthew D. Mentgen
                                       State Bar No. 2008096

                                       Mentgen Law
                                       PO Box 164439
                                       Little Rock, AR 72216
                                       Tel: (501) 392-5662
                                       Fax: (866) 528-0404
                                       matthew@mentgenlaw.com
